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                                                                    E-FILED
                                      Tuesday, 24 August, 2021 10:56:25 AM
                                               Clerk, U.S. District Court, ILCD




                  s/Michael M. Mihm




                  8/24/2021
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